USDC IN/ND case 3:19-cv-00701-RLM-MGG document 24 filed 11/05/20 page 1 of 1


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION

HEATHER M. PIZARRO,                     )
                                        )
                         Plaintiff      )
                                        )
            vs.                         )   CAUSE NO. 3:19-CV-701 RLM-MGG

                                        )
ANDREW SAUL, COMMISSIONER               )
OF SOCIAL SECURITY,                     )
                                        )
                         Defendant      )

                                     ORDER

      No objections have been filed to the magistrate judge’s findings and

recommendation on plaintiff’s appeal from the final decision of the Commissioner

of Social Security [Doc. No. 23]. Accordingly, the court ADOPTS those findings and

the recommendation, REVERSES the Commissioner’s decision, and REMANDS this

case to the Social Security Administration for further proceedings.

      SO ORDERED.

      ENTERED:      November 4, 2020



                                         /s/ Robert L.. Miller, Jr.
                                     Judge
                                     United States District Court
